                        CASE 0:07-cv-03630-JRT-JJK Document 169 Filed 04/17/09 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                                  UNITED STATES DISTRICT COURT
                                                                             District of Minnesota

Elliot Kaplan and Jeanne Kaplan,
                                                                                        JUDGMENT IN A CIVIL CASE
    V.
                                                                                                Case Number: 07-3630 JRT/JJK
Mayo Clinic et al.,


X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
  has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:


      Defendants' Motion for Judgment as a Matter of Law GRANTED on breach of contract claim.
      Defendants' Motion for Judgment as a Matter of Law DENIED on medical malpractice claim.


      Jury Verdict in favor of Defendants on medical malpractice claim.




                                  April 16, 2009                                                   RICHARD D. SLETTEN, CLERK
Date
                                                                                                          s/Rena L. Riemer
                                                                                         (By)           Rena Lexvold Riemer, Deputy Clerk




______s/John R. Tunheim_________________

Judge John R. Tunheim
United States District Judge



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